           Case 2:95-cr-00503-JAM Document 323 Filed 08/23/06 Page 1 of 1


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 7              IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )
                                            )
11                   Plaintiff,             )     CR S 95-503-LKK
                                            )
12        v.                                )
                                            )
13   DUANE POOLE,                           )
                                            )
14                   Defendant.             )
                                            )
15
                          ORDER FOR REMISSION OF FINE
16
          This matter is before the court on the petition of the
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     United States for remission of the unpaid portion of the criminal
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     fine owed by the defendant, in accordance with the provisions of
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     18 U.S.C. § 3573.    The court finds it has jurisdiction over the
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     subject matter and the parties, and having reviewed the petition;
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          ORDERS that the unpaid portion of the criminal fine imposed
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     against the defendant Duane Poole is hereby remitted.
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24   IT IS SO ORDERED:
25
26   Dated: August 23, 2006
27
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